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                             Exhibit 2
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                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA


  JONATHAN R., et al.,                                 )
                                                       )
  Plaintiffs,                                          )
                                                       )
                        v.                             )
                                                       )   Case No. 3:19-cv-00710
                                                       )
  JIM JUSTICE, et al.,                                 )
                                                       )
  Defendants.                                          )


                             DECLARATION OF CYNTHIA PARSONS

         1.     My name is Cynthia Parsons. I am the Director of Behavioral Health and Long

 Term Care Services in the Bureau for Medical Services for the West Virginia Department of Human

 Services (“DoHS”). I am submitting this declaration in support of the Defendants’ motion for

 summary judgement.

         2.     The information contained in this declaration is based on my personal knowledge.

 If called as a witness, I would offer testimony as to those matters set forth in this declaration.

         3.     The West Virginia Medicaid program is administered pursuant to Title XIX of the

 Social Security Act and Chapter 9 of the West Virginia Code. The Bureau for Medical Services

 within DoHS is the single State agency responsible for administering West Virginia’s Medicaid

 program.

         4.     Foster children receive a comprehensive array of medically necessary medical and

 mental health services through West Virginia’s Medicaid program. All foster children in West

 Virginia are in fact eligible for and enrolled in Medicaid.

         5.     For foster children, West Virginia Medicaid covers all medically necessary services

 that are coverable by Medicaid under 42 U.S.C. § 1396(d). West Virginia also chooses to cover

                                                   1
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 many optional services for foster children pursuant to “Section 1915(c) waiver programs.” These

 include the Children with Serious Emotional Disorder (“CSED”) waiver program and the

 Intellectual Developmental Disabilities (“IDD”) waiver program.

        6.      Federal law and the federal Centers for Medicare & Medicaid Services prohibit

 Medicaid enrollees from being enrolled in more than one Section 1915(c) waiver program

 simultaneously. Accordingly, foster children otherwise eligible for both CSED waiver and the

 IDD waiver must choose one of the two waiver programs; they cannot enroll in both waiver

 programs. As a practical matter, because the CSED waiver and the IDD waiver serve different

 target populations, in almost every case, a foster child is eligible for either the CSED waiver or the

 IDD waiver.

        7.      Children in foster care are enrolled in a specialized statewide managed care

 program for children in foster care, called Mountain Health Promise, through which all Medicaid-

 covered and socially necessary services are delivered. DoHS contracts with one managed care

 organization, Aetna Better Health of West Virginia (hereinafter, “Aetna”), which is responsible for

 coordinating care and benefits for children enrolled in Mountain Health Promise. Through

 Mountain Health Promise, every child undergoes a comprehensive assessment to identify physical,

 mental health, and behavioral health needs, and has a care coordinator responsible for ensuring the

 child is connected with appropriate providers to address those needs.

        8.      As of April 2024, DoHS has spent $764,435,313.91 on Mountain Health Promise

 to serve more than 19,000 foster children. Attached as Exhibit A is a true and correct copy of a

 summary of capitation payments made by the State of West Virginia to the Mountain Health

 Promise Managed Care Organization, Aetna Better Health of West Virginia, as of April 2024,

 prepared by Myers and Stauffer, DoHS’s contractor that assists with the financial reporting and



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 monitoring of the Mountain Health Promise contract. The documents and data underlying this

 summary chart are voluminous official financial reports on the Mountain Health Promise contract

 maintained in the ordinary course of business.

        9.      All covered and authorized services must be provided by enrolled providers

 practicing within the scope of their license, utilizing professionally accepted standards of care, and

 in accordance with all state and federal requirements.

        10.     In March 2024, 74 percent of all foster children with behavioral health diagnoses

 (including juvenile justice youth) are in community-based family settings, and 26 percent of such

 foster children are in residential treatment programs. Attached as Exhibit B is a true and correct

 copy of a summary of the number of children who have behavioral health diagnoses who are placed

 in residential settings and community settings based on information in PATH, as of March 2024,

 prepared by BerryDunn, DoHS’s contractor that assists with data management and analysis related

 to quality assurance. The documents and data underlying this summary chart are voluminous

 official data reports maintained in the ordinary course of business.

        11.     In 2024, DoHS plans to implement Positive Behavior Support services as a

 Medicaid service.

        12.     In 2021, DoHS partnered with BerryDunn to develop a certified community

 behavioral health clinic (“CCBHC”) model of care in West Virginia. CCBHCs provide integrated

 healthcare services that are evidence-based, trauma-informed, recovery-oriented, and person-and-

 family-centered across a continuum of care. CCBHCs must provide the following nine services:

 crisis services; treatment planning; screening, assessment, diagnosis, and risk assessment;

 outpatient mental health and substance use services; targeted case management; outpatient primary

 care screening and monitoring; community-based mental health care for veterans; peer and family



                                                   3
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 support services; and psychiatric rehabilitation services. Through the CCBHC model, providers

 are reimbursed by Medicaid through a predetermined, fixed amount per day of services rendered

 to each Medicaid beneficiary, which is based on the provider’s actual costs of delivering services.

 The CCBHC reimbursement model ensures that providers receive sufficient reimbursement for

 intensive community-based mental and behavioral health services. A quality incentive payment

 system may also be established to achieve specific thresholds on performance identified by DoHS,

 which would be in addition to the prospective daily rate.

        13.     In 2022, the West Virginia legislature passed a bill establishing W.V. Code Section

 9-5-30, which requires DoHS to develop, seek approval of, and implement a Medicaid state plan

 amendment as necessary and appropriate to effectuate a system of CCBHCs and establish a state

 certification system for CCBHCs that mandates CCBHCs to provide a minimum set of services in

 exchange for a prospective payment rate and sets forth a quality incentive payment system.

        14.     DoHS has contracted with Quality Insights to complete trainings and technical

 assistance on care coordination, developing a CCBHC needs assessment, seeking federal funding

 to support the CCBHC model, provider-level implementation considerations, and stakeholder

 engagement.

        15.     In 2023, West Virginia was one of fifteen states awarded a $1 million, one-year

 cooperative CCBHC planning grant from the federal government to further develop its CCBHC

 model. This planning grant allows West Virginia to apply to participate in a federal CCBHC

 demonstration initiative that provides enhanced federal financial participation for Medicaid

 payments to CCBHC providers. Also in 2023, DoHS provisionally certified the first six behavioral

 centers as CCBHCs.




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        16.     In 2024, DoHS submitted a State Plan amendment to the federal government to

 authorize Medicaid coverage of CCBHC services. This includes the requirement that all CCBHCs

 provide intensive outpatient adolescent youth services. The State Plan amendment will have an

 effective date of July 1, 2024, pending federal approval.

        17.     In 2024, DoHS was awarded a federal grant for the Implementation, Enhancement,

 and Expansion of Medicaid and the Children’s Health Insurance Program (CHIP) School-Based

 Services. The grant funds will be used to support efforts to connect children to critical health care

 services, especially mental health services, at schools.



        I declare under the penalty of perjury that the foregoing is true and correct.

 Executed this 5th day of July 2024.

                                                       /s/ Cynthia Parsons
                                                       Cynthia Parsons




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                        Parsons Exhibit A
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 The capitation payments made by the State of West Virginia to the Mountain Health Promise
 Managed Care Organization (MCO), Aetna Better Health of West Virginia, are shown below
                            by paid year and capitation year.

 By Paid Year
       State Fiscal Year                Paid Months                Capitation Amounts1
           SFY 2020               March 2020 - June 2020       $                44,655,210
           SFY 2021                July 2020 - June 2021       $               145,877,404
           SFY 2022               July 2021 - June 20222       $               186,406,641
           SFY 2023                July 2022 - June 2023       $               217,704,182
           SFY 2024                July 2023 - April 2024      $               169,791,877

 By Capitation Year
       State Fiscal Year            Capitation Months              Capitation Amounts1
           SFY 2020               March 2020 - June 2020       $                42,740,682
           SFY 2021                July 2020 - June 2021       $               148,822,080
           SFY 2022               July 2021 - June 20222       $               203,818,394
           SFY 2023                July 2022 - June 2023       $               211,794,667
           SFY 2024                July 2023 - April 2024      $               157,259,492

 ¹ These capitation amounts do not include any adjustments for taxes and regulatory fees or
 reinsurance and have not been verified by Myers and Stauffer.
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                        Parsons Exhibit B
               202301 202302 202303 202304 202305 202306 202307 202308 202309 202310 202311 202312 202401 202402 202403
Number of         755    790    814    839    864    853    863    863    863    862    867    860    827    838    868
children in
residential
settings
with SED
diagnosis in
past 12
                                                                                                                                        Case 3:19-cv-00710




months
Number of       2,363   2,409   2,437   2,461   2,474   2,491   2,450   2,426   2,350   2,370   2,389   2,386   2,366   2,409   2,442
children in
community
settings
with SED
diagnosis in
the past 12
                                                                                                                                        Document 533-3




months
Total           3,118   3,199   3,251   3,300   3,338   3,344   3,313   3,289   3,213   3,232   3,256   3,246   3,193   3,247   3,310
number of
youth with
SED
diagnosis in
                                                                                                                                        Filed 07/08/24




past 12
months
(should be
the sum of
two rows
above)
Percentage       76%     75%     75%     75%     74%     74%     74%     74%     73%     73%     73%     74%     74%     74%     74%
of total
youth with
SED
diagnosis in
past 12
                                                                                                                                        Page 10 of 11 PageID #: 17622




months in
community
based
setting

kids in     2,969   2,969   2,961   2,954   3,001   2,939   2,843   2,834   2,779   2,791   2,812   2,806   2,724   2,744   2,743
Community
Based Non
SED
                                                                                                                                    Case 3:19-cv-00710
                                                                                                                                    Document 533-3
                                                                                                                                    Filed 07/08/24
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